             Case 5:21-cv-05574-JMG Document 3 Filed 12/30/21 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JAMES MICHAEL AMOR
 PATRICIA ELVIRA AMOR,
 213 N. Kinzer Ave.
 New Holland, PA 17557                            NO. 21-5574

                    Plaintiffs,                   CIVIL ACTION

                       vs.                        JURY TRIAL DEMANDED

 COURTNEY CONOVER
 6522 Mason Cir
 Randleman, NC 27317

                    Defendant.


                  MOTION FOR PRELIMINARY INJUNCTIVE RELIEF

       By and through his undersigned counsel, the Plaintiffs hereby move the Court for

preliminary injunctive relief against the Defendant for the reasons set forth in the attached

Memorandum of Law.

       1.       The Plaintiff, JAMES MICHAEL AMOR, is a Doctor of medical Dentistry with a

business practice located at 566 E. Main Street, New Holland, PA 17557.

       2.       The co- Plaintiff, PATRICIA ELVIRA AMOR, is the wife of JAMES MICHAEL

AMOR. For the

       3.       The Defendant, COURTNEY CONOVER, is an adult individual with an address

located at                        .

       4.       Dr. Amor provides professional dental services to the public.

       5.       Dr. Amor was also employed as the Performance Entertainment Director of the

Pittsburgh Renaissance Faire (Faire ) in the Summers of 2020 and 2021.
               Case 5:21-cv-05574-JMG Document 3 Filed 12/30/21 Page 2 of 5




          6.      Dr. Amor expects to be employed as the Performance Director of the Pittsburgh

Renaissance Faire (Faire ) in the Summers of 2022.

          7.      He has had this position since 2009.

          8.      Dr. Amor expects to be employed as the Director of other Faires around the United

States.

          9.      The Defendant was a paying guest in 2020 and 2021.

          10.     Starting in April 2021 and continuing periodically throughout the year, the

Defendant has posted false and defamatory allegations accusing the Plaintiff and his wife of aiding

and abetting pedophiles and/or rapists by refusing to take the claims of rape and sexual assault

victims seriously and by retaliating against them.

          11.     Defendant's accusations include but are not limited to allegations that the Plaintiffs

retaliated against said rape and/or sexual assault victims by, amongst other things, publicly

humiliating them, calling them crazy, refusing to rehire them, and/or terminating them from

employment.

          12.     The Defendant's allegations against the Plaintiffs are false. The false claims

contained in Exhibits 1-3, attached hereto and incorporated herein.

          13.     The defamatory statements described above were published on the Internet,

communicated to third parties, and accessible to individuals worldwide via the Internet.

          14.     Because of his dentistry practice and his position as Performance Director at the

Pittsburgh Renaissance Faire and other such 'Faires,' Dr. Amor has a high profile on numerous

Internet sites.

          15.     The Defendant has published these false statements on the Internet to be read by

Dr. Amor's former and prospective patients and the employees and directors of Renaissance Faires

around the United States.


4882-8591-0275, v. 8
            Case 5:21-cv-05574-JMG Document 3 Filed 12/30/21 Page 3 of 5




         16.      Defendant's allegations, which masquerade and are warranted as accurate, are false,

damaging, and highly offensive to the Plaintiffs.

         17.      The Plaintiffs conducted themselves ethically and in no way committed the acts

alleged by Defendant.

         18.      Upon information and belief, as a direct and proximate result of the publications,

Defendant's defamatory statements have been repeated on other websites.

         19.      Defendant deliberately, recklessly, and maliciously published and republished the

preceding false and defamatory information.

         20.      The actions by Defendant entailed communications that were defamatory and

continue on her blog and Facebook to this day.

         21.      The foregoing actions by Defendant entailed communications that resulted in

special harm to the Plaintiffs.

         22.      The foregoing actions by Defendant were an abuse of any conditional privilege that

may have applied (the existence of any such privilege being expressly denied).

         23.      The statements published by Defendant as aforesaid were false.

         24.      When the foregoing false statements were published, Defendant knew or should

have known that the statements were false.

         25.      Defendant published the foregoing false statements of and regarding the Plaintiffs

either intentionally or maliciously, with reckless disregard for their truth or falsity, or negligently

and carelessly.

         26.      As a direct and proximate result of Defendant's false publications as aforesaid, the

Plaintiffs have been and concurrently are significantly injured in their good name and reputations.

         27.      The Plaintiffs have been brought into scandal and reproach because of the printing,

publication, and circulation (both past and ongoing) of the foregoing false statements.


4882-8591-0275, v. 8
            Case 5:21-cv-05574-JMG Document 3 Filed 12/30/21 Page 4 of 5




         28.      The Plaintiffs have been held up to ridicule, scorn and, contempt among neighbors,

business acquaintances, and other members of the public because of the printing, publication

circulation open and with parts and ongoing) foregoing false statements.

         29.      As a direct and proximate result of Defendant's conduct, the Plaintiffs' reputations

were damaged and their ability to engage in future business dealings, both in terms of Dr. Amor's

dental practice and his position as Director of numerous Faires.

         30.      As a result of the conduct of Defendant, the Plaintiffs have sustained significant

financial harm, pain and suffering, and severe emotional distress.

         31.      In publishing the aforesaid defamatory statements, Defendant continues to cause

Plaintiffs significant financial harm, including damage to Plaintiff Amor's reputation amongst his

current and prospective patients and clients.

         32.      The Plaintiffs have been damaged by and continue to be irreparably damaged by

the conduct of Defendant.

         33.      Damages alone are insufficient to remedy the conduct described above.

         34.      The Damages continue absent equitable relief.

         35.      If Defendant is permitted to continue her wrongful conduct as aforesaid, the

Plaintiffs will suffer irreparable harm as follows:

                  a.     Plaintiff Amor will lose and continue to lose a substantial number of current
                         and prospective patients; and

                  b.     Plaintiff Amor more will suffer and continue to suffer a substantial loss of
                         business and profits now and in the future.

                  c.     Plaintiff Amor will be terminated in his positions of Director for numerous
                         Faires, resulting in a loss of income and irreparable harm to his and his
                         wife's reputation.




4882-8591-0275, v. 8
            Case 5:21-cv-05574-JMG Document 3 Filed 12/30/21 Page 5 of 5




         WHEREFORE, for the foregoing reasons, the Plaintiffs request that the Court enter the

attached Order granting injunctive relief against the Defendant granting all such relief as the Court

deems necessary in this matter.

                                              Respectfully submitted,

                                              KOLMAN LAW P.C.




                                      BY:     Timothy M. Kolman
                                              Timothy M. Kolman, Esquire
                                              Attorney for Plaintiffs
                                              414 Hulmeville Avenue
                                              Penndel, PA 19047
                                              (215) 750-3134




December 30, 2021




4882-8591-0275, v. 8
